                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA


 MICHAEL J. LINDELL and
 MYPILLOW, INC.,
                                                   Case No. 22-cv-02290-ECT-ECW
                      Plaintiffs,

 v.

 UNITED STATES OF AMERICA,                         MEMORANDUM IN SUPPORT OF
 MERRICK GARLAND in his official                   PLAINTIFF’S MOTION FOR A
 capacity as Attorney General of the               TEMPORARY RESTRAINING
 United States, the United States Attorney         ORDER AND FOR RETURN OF
 for the District of Minnesota, and                PROPERTY PURSUANT TO FED.
 CHRISTOPHER WRAY in his official                  R. CRIM. P. 41(g)
 capacity as Director of the Federal Bureau
 of Investigation,

                       Defendants.


       Plaintiffs Michael J. Lindell and MyPillow, Inc., have filed a Complaint for Return

of Property and for Declaratory and Equitable Relief and a Motion for Temporary

Restraining Order and for Return of Property Pursuant to Fed. R. Crim. P. 41(g). The

Motion requests the return of property illegally seized from Plaintiffs by the Government.

Plaintiffs submit this memorandum in support of their Motion.

       Plaintiffs further request that the Court preserve the status quo by immediately

ordering that Defendants refrain from accessing or taking any action with respect to the

seized cell phone at least until a hearing is held in this matter, at which time the Court can

determine whether or not to extend maintenance of the status quo. To the extent that the

Government is allowed free rein as it relates to Plaintiffs’ cell phone and information,


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including privileged and confidential information, the damage to Plaintiffs’ rights will be

irremediable, whereas a delay of a few days or even weeks in the Government’s review

will have little or no adverse impacts.

       Plaintiffs request that a Status Quo Order be issued upon receipt of this Motion.

                                     BACKGROUND

       There is a compelling need for this Court to enter an emergency Order that will

prohibit the Defendants in this action (“the Government”) from acting upon the illegal

seizure of Mr. Lindell’s cell phone on September 13, 2022. The seizure and the actions

associated with the securing and execution of a search and seizure warrant (“the

Warrant”) by the Government violate Plaintiff’s rights protected by the First, Fourth,

Fifth, and Sixth Amendments to the Constitution. Mr. Lindell’s efforts to expose and

raise public awareness of election fraud, and the inherent dangers posed to our elections,

and our Republic, by the use of black box computerized voting machines is well-known

to the Government. The object of the search and seizure warrant for Mr. Lindell’s cell

phone was not only to gain access to an immense amount of data collected on that cell

phone, including attorney-client communications and communications with other

individuals which are protected by the First Amendment, but also to send a message to

others not to speak out on these issues.

       The Warrant prescribes no method by which the privileged and constitutionally

protected communications, including communications wholly unrelated to the

Government’s investigation out of which the Warrant arises, would be safeguarded and

kept beyond review by the Government. It explicitly authorizes review of all

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electronically stored data that has been seized “by any government personnel assisting in

the investigation.” The seizure of Mr. Lindell’s cell phone has also had severe adverse

effects on My Pillow, Inc., his other businesses, and his personal health. Plaintiffs request

emergency relief to secure the return of the cell phone and a prohibition on any access by

the Government to data collected on the cell phone.

        The Warrant was issued on September 7, 2022, authorizing federal agents to

seize Mr. Lindell’s cell phone and to gain access to multiple categories of data collected

on that device. A copy of the Warrant is attached to this Memorandum and marked

Exhibit 1. On September 13, 2022, federal agents served the Warrant on Mr. Lindell in

the drive-through lane of a fast-food restaurant in Mankato, Minnesota in circumstances

that exhibited utter disregard for the constitutional rights of Mr. Lindell. See Declaration

of Michael J. Lindell (Sept. 21, 2022) (Exhibit 2) (“Lindell Decl.”). To prevent further

injury to Plaintiffs’ rights, Plaintiffs request not only the immediate return of the cell

phone but also an Order barring the Government from attempting to access data stored on

it and requiring the return of any data that the Government has already accessed.

Plaintiffs request that the Court prohibit the Government from making any use of the data

and require the Government to identify what data it has accessed.

       The good faith efforts of Mr. Lindell and those associated with him to criticize the

government or take action to determine whether election laws were violated are protected

by the First Amendment. See Connick v. Myers, 461 U.S. 138, 161 (1983). See generally

R. Krotoszynski, Whistleblowing Speech and the First Amendment, 93 IND. L. J. 267

(2013). The Court should not permit the Government to frustrate these First Amendment

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efforts or to investigate and prosecute those involved to prevent them from pursuing their

objective. Ruscavage v. Zuratt, 821 F. Supp. 1078, 1083 (E.D. Pa. 1983).

                                       ARGUMENT

             I.     THE RETURN OF PROPERTY IS REQUIRED

       Plaintiffs are entitled to a return of any property, including data, seized by the

Government on September 13, 2022, pursuant to Rule 41(g) of the Federal Rules of

Criminal Procedure. Whether or not the Warrant should be invalidated in its entirety, the

scope of the Warrant that encompassed the seizure of attorney-client and First

Amendment privileged information is impermissible. Rule 41(g) requires that the data

sought be returned until they are properly segregated to protect the privileged and

constitutionally protected communications from disclosure. 1

       II.        THE COURT SHOULD GRANT A
                  TEMPORARY RESTRAINING ORDER

       Plaintiffs request that the Court exercise its equitable power to enjoin Defendants

from reviewing or making any use of data from the cell phone until the issues raised in

Plaintiffs’ challenge to the legitimacy of the Warrant are resolved. A preliminary

injunction requires a balancing of competing interests under the four-factor standard

established by Winter v. Natural Resources Defense Council, 555 U.S. 7 (2008). An

applicant “must establish that he is likely to succeed on the merits, that he is likely to

suffer irreparable harm in the absence of preliminary relief, that the balance of equities


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 The Government did nothing when seeking the Warrant to commit to a process for
segregating and preventing disclosure of protected information. Such processes could
have and should have easily been implemented here.
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tips in his favor, and that an injunction is in the public interest.” Id. at 20. Each factor is

discussed below.

                      A. Plaintiff is likely to succeed on the merits.

       The likelihood-of-success-on-the-merits factor is an “independent, free-standing

requirement” for a preliminary injunction. Shereley v. Sebelius, 644 F.3d 388, 393 (D.C.

Cir. 2011). However, Plaintiffs need not establish absolute certainty of success on the

merits. Booth v. Bowser, 2022 WL 823068, *16 (D.D.C. March 18, 2022) (citing

Population Inst. v. McPherson, 797 F.2d 1062, 1078 (D.C. Cir. 1986)). “[I]t will

ordinarily be enough that the plaintiff has raised questions going to the merits so serious,

substantial, difficult and doubtful, as to make them a fair ground for litigation and thus

for more deliberate investigation.” It is not necessary for Plaintiffs to show a 51%

likelihood of success. Davis v. Pension Benefit Guar. Corp., 571 F.3d 1288, 1292 (D.C.

Cir. 2009); Tully v. Okeson, 977 F.3d 608, 613 (7th Cir. 2020); S. S. Body Armor I, Inc. v.

Carter, Ledyard & Milburn LLP, 927 F.3d 763, 772 (3d Cir. 2019). It is sufficient for

Plaintiffs to present a prima facie case on the merits. C. WRIGHT, A. MILLER & M. KANE,

FEDERAL PRACTICE & PROCEDURE § 2948.3 (2013). This first factor is considered the

most important factor. Aamer v. Obama, 742 F.3d 1023, 1038 (D.C. Cir. 2014).

       The Complaint contains six counts. Count I asserts that the Warrant violates Mr.

Lindell’s freedom of association, freedom of speech, freedom of the press, and his right

to petition the Government for the redress of grievances guaranteed by the First

Amendment.



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       The law is well-settled that the First Amendment protects against the compelled

disclosure of information concerning the identities and communications of individuals

who associate for the advancement of shared beliefs and who choose to do so

anonymously. E.g., NAACP v. Alabama ex rel. Patterson, 357 U.S. 449, 460 (1958)

(citing previous holdings). In a recent Supreme Court decision, those holdings were

reinforced. American for Prosperity Found. v. Bonta, 141 S. Ct. 2373, 2388 (2021) (“Our

cases have said that disclosure requirements can chill association….”). The associates of

Mr. Lindell who wish to remain anonymous have a reasonable fear of retaliation and

harassment by the Government because of threats made recently by the Director of

National Intelligence, the Secretary of Homeland Security, and Defendant Merrick

Garland to investigate and prosecute those who claim that there was fraud in the 2020

presidential election.

       Count II asserts that the Government violated Mr. Lindell’s Fourth Amendment

right not to be monitored and tracked by the Government using cell site location

information (“CSLI”) or a tracking device without a warrant. Mr. Lindell’s movements

on the day the Warrant was executed were spontaneous and not communicated to any

person in advance. On information and belief, Mr. Lindell was being tracked by the use

of CSLI or a tracking device on September 13, 2022, allowing the Government to find

him notwithstanding the spontaneous nature of his movements. The Government has not

shown Mr. Lindell any warrant to track him using either method.

       Count III asserts that the Warrant violates Mr. Lindell’s Fourth Amendment right

that the things to be seized would be described with particularity. The Warrant, however,

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authorized the seizure of all electronically collected data on Plaintiffs’ cellphone, which

encompasses a massive amount of data collected over several years that is unrelated to

the three statutes identified in the Warrant.

       Count IV asserts that Mr. Lindell was seized in violation of the Fourth

Amendment. Any temporary and unreasonable detention of Mr. Lindell without a warrant

violates the Fourth Amendment. Torres v. Madrid, 141 S. Ct. 989, 1003 (2021). There

were no circumstances in this situation that justified a seizure without a warrant.

       Count V asserts that Mr. Lindell was subjected to conduct on the part of the

Government’s agents on September 13, 2022, that violated the Due Process Clause of the

Fifth Amendment. The totality of the circumstances of Mr. Lindell’s seizure, the

application for the Warrant which involved bad faith of the agents, and their questioning

of him while detained without advising him of his right to have a lawyer present (and in

fact preventing him for some time from calling his lawyer) constituted a denial of due

process to Mr. Lindell. Furthermore, the Government should not have obtained the

Warrant at all. It served Mr. Lindell with a subpoena at the same time it executed the

Warrant. Lindell Decl. ¶ 10. The Government did not serve the subpoena prior to the time

it served the Warrant and the subpoena together. The Government, in fact, took no action

to obtain Mr. Lindell’s cell phone until it executed the Warrant. It did not even ask Mr.

Lindell for his cell phone. It went from no action whatsoever to a surprise execution of a

warrant. The Government easily could have, and should have, obtained the records it

sought from Mr. Lindell by subpoena rather than by seizing his cell phone.



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       Plaintiffs are likely to succeed on the merits of each count for the following

reasons.

                        1. The Warrant Violates the First Amendment

       The chilling effect on Mr. Lindell’s exercise of his First Amendment rights,

namely, the freedom of speech and political expression, the freedom of association, the

freedom of the press, and the right to petition the government for the redress of

grievances, would be immediate and severe. See Bonta, 141 S. Ct. at 2382-83 (“Broad

and sweeping inquiries into these protected areas discourage citizens from exercising

rights protected by the Constitution.”). These likely consequences are described in Mr.

Lindell’s Declaration. Enforcement of the Warrant would inhibit and deter Mr. Lindell

and his associates from continuing their public-interest First Amendment activity. See

Nat’l Treasury Emps. Union v. United States, 101 F.3d 1423, 1430 (D.C. Cir. 1996).

                        2. The Warrant Violates the Fourth Amendment

       The warrant’s scope is so expansive that it violates the Fourth Amendment. Mr.

Lindell conducts every single aspect of his business and personal life with the phone that

the FBI seized. See Lindell Decl. ¶ 14. The warrant would sweep into the Government’s

possession communications by and to Mr. Lindell that are entirely unrelated to the

asserted bases for the warrant, which relate to alleged violations of 18 U.S.C.

§§ 1028(a)(7), 1030(a)(5)(A), and 371. It would disclose to the Government information

that is personal to Mr. Lindell and individuals who have communicated with Mr. Lindell

and utterly unrelated to the asserted purpose of the warrant. Under the circumstances, the



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warrant constitutes the type of general warrant that was a principal prompting for the

adoption of the Fourth Amendment.

       As observed in the district court in In re Search of Apple IPhone, 31 F. Supp. 3d

159 (D.D.C. 2014):

       In the physical world, a search of an entire file cabinet or building for a
       particular document is constitutionally permissible only because there is no
       way to know with any certainty ahead of time how the search location can be
       narrowed so that only the specific folder containing the document will be
       searched. . . . In such instances, the textual admonitions of the Fourth
       Amendment must give way to the practical reality of how the search must be
       conducted.

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       The digital world however, is entirely different. For example, sophisticated
       search tools exist, and those search tools allow the government to find
       specific data without having to examine every file on a hard drive or flash
       drive. When searching electronic devices to seize the data, the potential for
       abuse has never been greater: it is easy to copy them and store thousands or
       millions of documents with relative ease. But, by using search tools, there is
       also the potential for narrowing searches so that they are more likely to find
       only the material within the scope of the warrant.

Id. at 167 (citations omitted). In that case, the district court quoted United States v.

Schesso, 730 F.3d 1040, 1042 (9th Cir. 2013) (citing United States v. Comprehensive

Drug Testing, Inc., 621 F.3d 1162, 1177 (9th Cir. 2010) (en banc) (per curiam)) stating

that “‘the reality that over-seizing is an inherent part of the electronic search process’

requires this Court to ‘exercise greater vigilance’ in protecting against the danger that the

process of identifying seizable electronic evidence could become a vehicle for the

government to gain access to a larger pool of data that it has no probable cause to

collect.’” Id. at 168. The district court noted that the government had not “explain[ed]


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how it is going to conduct this search to minimize the risk that files outside the scope of

the warrant will be discovered” and rejected the application for a warrant. Id.

       To overcome these Fourth Amendment protections and mitigate potential abuses

allowed by a seizure of a cell phone or similar electronic device, the court required the

government to specify how the images of the data on the phone would be taken; the

identity of the forensic team that would perform the search and that team’s relationship to

the investigating officers directly involved in the search; the predetermined search terms

provided to the court to avoid viewing material that is not within the scope of the warrant;

and when the device would be returned to the owner. Id.; see also In re Search of Odys

Loox Plus Tablet, 28 F. Supp. 3d 40, 43-46 (D.D.C. 2014) (rejecting government’s

application for a search warrant to seize a cell phone.). The government’s warrant to seize

Mr. Lindell’s cell phone lacked any of these procedural safeguards to ensure Mr.

Lindell’s rights guaranteed by the Fourth Amendment were not violated.

       As the Chief Justice observed in Carpenter v. United States, 138 S. Ct. 2206

(2018), the Court has applied to innovations in surveillance tools the principles that are

embodied in the Fourth Amendment as the Founding generation crafted it, which was a

“response to the reviled ‘general warrants’ and ‘writs of assistance’ of the colonial era,

which allowed British officers to rummage through homes in an unrestrained search for

evidence of criminal activity.” Id. at 2213. The Warrant authorizes the seizure of years of

data collected on Plaintiffs’ cell phone and review by the Government of all this massive

collection of data. The Warrant, then, effectively constitutes a general warrant that is



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proscribed by the Fourth Amendment. See Riley v. California, 573 U.S. 373, 403 (2014).

Because of the Warrant’s overbreadth, it is invalid.

       In addition, the fact that Mr. Lindell’s cell phone contains First Amendment-

protected communications supports the conclusion that execution of the Warrant violated

Mr. Lindell’s Fourth Amendment rights. The Supreme Court has held, “the constitutional

requirement that warrants must particularly describe the ‘things to be seized’ is to be

accorded the most scrupulous exactitude when the ‘things’ are books, and the basis for

their seizure is the ideas which they contain.” Stanford v. State of Tex., 379 U.S. 476, 485

(1965). The same principle must apply with no less force here, where the things to be

seized are electronic records of speech and communication—text messages, call histories,

email communications, and other contents of Mr. Lindell’s phone—and where those

records are targeted for seizure because the Government believes they may contain

speech about efforts to uncover election fraud. The particularity requirement must

therefore be applied with the “most scrupulous exactitude” to prevent the Government

from chilling speech: “leaving the protection of [First Amendment] freedoms to the whim

of the officers charged with executing the warrant” is a “constitutional impossibility.” Id.

The Warrant’s failure to describe the materials to be seized with any particularity

whatsoever clearly fails to meet this heightened standard. For this reason, Mr. Lindell is

likely to succeed on the merits of his Fourth Amendment claim.




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                         3. The Government Likely Withheld Material Information
                            From the Court in Applying for the Warrant

       The Government’s asserted need for the data collected on Plaintiffs’ cell phone is

to obtain evidence of potential violations of 18 U.S.C. § 1028(a)(7) (identity theft), 18

U.S.C. §1030(a)(5)(A) (intentional damage to a protected computer), and 18 U.S.C. §

371 (conspiracy to violate the preceding statutes). Plaintiffs do not have access to the

affidavit used to obtain the Warrant. Based on their knowledge of the relevant facts,

Plaintiffs expect that the Government withheld or misstated material information when

obtaining the Warrant. See Z. J. by and through Jones v. Kansas City Bd. of Police

Commrs., 931 F.3d 672, 686 (8th Cir. 2019). For example, credentialed cyber experts

reviewed forensic images of Mesa County, Colorado election system computers and

issued reports made public, and known to the Government, two of which are particularly

relevant here. 2 See Verified Complaint ¶ 37. Plaintiffs believe the Government did not

provide this information to the Magistrate Judge though the information is necessary to

evaluate the Government’s investigation of these matters and its purported need to seize

Mr. Lindell’s phone by Warrant.

       Plaintiffs have a right to review the Warrant to show the Court whether in

applying for the issuance of the Warrant, the Government failed to apprise Magistrate

Judge Leung of material information that would have caused the application to be denied.

See United States v. Randle, 39 F.4th 533, 537-38 (8th Cir. 2022); Hartman v. Bowles, 39



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  Two cyber expert reports are attached as Exhibits 3 and 4. Appendices available upon
request.
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F.4th 544, 546 (8th Cir. 2022). There were several other matters that should have been

presented in the Warrant application: (1) the lack of statutory justification for asserting

potential violations of 18 U.S.C. §§ 1028(a)(7) and 1030(a)(5)(A) of which the

Government was aware because each required an element of lack of authorization for the

actions attributed to those making an image of the Dominion Trusted Build software

update (see https://www.thehill.com/policy/technology/139354-lawmakers-slam-doj-

prosecution-of-swartz-as-ridiculous-absurd/); (2) Plaintiffs are unaware of any evidence

presented to the Magistrate Judge that would negate the conclusion that all actors

involved in making an image of the Trusted Build software update were authorized to do

so; (3) there was no evidence of damage to any computer as required by 18 U.S.C. §

1030(a)(5); (4) any and all actions by Mr. Lindell in exposing violations of federal and

Colorado election statutes related to the installation of Dominion’s Trusted Build

software update were protected under the First Amendment; and (5) the Department had

a conflict of interest in investigating matters related to the 2020 presidential election

requiring the appointment of Special Counsel to conduct any investigation he or she

deems appropriate. 28 CFR §600.1.

       Plaintiffs reserve the right to expand or alter their Motion in response to the

contents of the affidavit in support of the Warrant.

       Plaintiffs, therefore, have established a substantial likelihood that they would

prevail on each of the counts. They need only establish a likelihood of prevailing on any

one of the counts.



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                     B. Plaintiffs would suffer irreparable injury if
                        a temporary restraining order is not granted.

       Plaintiffs must show that they will suffer irreparable harm if a temporary

restraining order is not granted. Benisek v. Lamone. 138 S. Ct. 1942, 1944 (2018). The

injury to Plaintiffs in the absence of the requested relief would be immediate and

irreparable. See Roman Catholic Diocese v. Cuomo, 141 S. Ct. 63, 67 (2020) (“The loss

of First Amendment freedoms, for even minimal periods of time, unquestionably

constitutes irreparable injury.”); Elrod v. Burns, 427 U.S. 347, 373 (1976) (“[T]he

temporary violation of a constitutional right itself is enough to establish irreparable

harm.”).

       The injury need only be “likely.” Chaplaincy of Full Gospel Churches v. England,

454 F.3d 290, 297 (D.C. Cir. 2006). Plaintiffs are not required to “wait for the Damocles’

sword to actually fall.” Tiktok Inc. v. Trump, 507 F.Supp.3d 92, 114 (D.D.C. 2021). Mr.

Lindell has shown in his verified Complaint and his Declaration that there is more than a

“subjective chill” of his First Amendment rights. The violation of his constitutional

rights, including his First and Fourth Amendment rights, constitute an immediate and

irreparable injury if a preliminary injunction is not granted. Roman Catholic Diocese of

Brooklyn v. Cuomo, 141 S. Ct. 63, 67 (2020) (nothing more needed than such violation).

       The first two Winter factors are the most critical. Nken v. Holder, 556 U.S. 416,

434 (2009). The strength of Plaintiffs’ claims is derived from the unambiguous decisions

of the Supreme Court and their application to Plaintiffs’ claims. That the injuries to the




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Plaintiffs caused by the violation of his constitutional rights are irreparable is likewise

established by Benisek, Roman Catholic Diocese, and Elrod.

                     C. The balance of equities tips in favor of Plaintiffs.

       The third Winter factor—whether the balance of the equities tips in favor of the

moving party—is often considered together with the fourth factor: whether an award of a

motion for preliminary injunction would serve the public interest, when Government is

the opposing party. Nken, 556 U.S. at 435. The protection of individual constitutional

rights serves the public interest. See Giovani Carandola, Ltd. v. Bason, 303 F.3d 507, 521

(4th Cir. 2002); Wynn v. Vilsack, 545 F.Supp.3d 1271, 1293-94 (M.D. Fla. 2021) (interest

of movant in preserving his constitutional rights superior to the interests of the

Government regardless of how well-intended its program and how many beneficiaries of

that program would be adversely affected). Indeed, the Seventh Circuit has noted: “In

First Amendment cases, the likelihood-of-success factor is usually determinative.” ACLU

of Illinois v. Alvarez, 679 F.3d 588, 589-90 (2018). The Government’s interest in

immediately obtaining the information that it seeks through the Warrant is outweighed by

Plaintiffs’ interest in protecting their rights guaranteed by the Constitution. See Louisiana

v. Becerra, 2022 WL 16571, *15 (W.D. La. Jan. 1, 2022).


                     D. The public interest favors a grant of a temporary restraining
                        order.

       “If, as a practical matter, a plaintiff demonstrates both a likelihood of success on

the merits and irreparable injury, it almost always will be the case that the public interest

will favor the plaintiff.” AT&T Co. v. Winbach and Conserve, Inc., 42 F.3d 1421, 1427

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n.8 (3d Cir. 1994). The public interest is always served by assuring that the requirements

and prohibitions of the Constitution are faithfully enforced. See League of Women Voters

of the U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (“ There is a substantial public

interest ‘in having governmental agencies abide by the federal laws that govern their

existence and operations.”); Giovani Carandola, 303 F.3d at 521 (“[A] state is ‘in no way

harmed by issuance of a preliminary injunction which prevents the state from enforcing

restrictions likely to be found unconstitutional. If anything, the system is improved by

such an injunction.”); Louisiana v. Becerra, 2022 WL 16571, *15 (the public interest is

served by maintaining the constitutional structure and the liberty of individuals); Tate v.

Pompeo, 513 F.Supp.3d 132, 153 (D.D.C. 2021). That interest in protecting the

constitutional rights of Plaintiffs in this case overrides the public’s interest in enforcing

the Warrant. The Government may not act “unlawfully even in pursuit of desirable ends.”

Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 582, 585-86 (1942). In any

event, there is no public interest in enforcement of an unlawful action. League of Women

Voters, 838 F.3d at 21.

                                      CONCLUSION

       The Court should enter Temporary Restraining Order requiring the return of the

cell phone and data seized from Mr. Lindell on September 13, 2022 by the Government

and prohibiting the Government from attempting any access to or use of the

electronically stored data that has been collected on Plaintiffs’ cell phone, until Plaintiffs’

claims in this action are resolved on the merits.



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Dated: September 21, 2022   PARKER DANIELS KIBORT LLC

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